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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

  ____________________________________
                                        )
  STATE OF ARIZONA, et al.,             )
                                        )
                            Plaintiffs, )
                                        )
              v.                        )   Civil Action No. 6:22-CV-00885-RRS-CBW
                                        )
  CENTERS FOR DISEASE CONTROL           )
  & PREVENTION, et al.,                 )
                                        )
                            Defendants. )
  _____________________________________)


   DEFENDANTS’ MONTHLY REPORT FOR THE MONTH OF JUNE PURSUANT TO
                THE COURT’S PRELIMINARY INJUNCTION
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         Pursuant to the Court’s May 20, 2022 preliminary injunction order, ECF No. 91, Defendants

  herein provide, subject to the caveats discussed below, data showing, for the month of June 2022, (1)

  the number of single adults processed under Title 42 and Title 8 by country, (2) the number of

  recidivist border crossers for whom the U.S. Customs and Border Protection (“CBP”), Department

  of Homeland Security (“DHS”) has applied expedited removal, (3) the number of migrants that have

  been excepted from Title 42 under the NGO-supported humanitarian exception process, and (4) any

  material changes to policy regarding DHS’s application of the Title 42 process.

             1. The number of single adults processed under Title 42 and Title 8 by country.

         Below is the data for single adult encounters by CBP at the Southwest land border for the

  period of June 1-30, 2022.

                                                                              Title
   Component                            Citizenship                                      Title 8   Total
                                                                               42
                  ARGENTINA                                                          0        3        3
                  ARMENIA                                                            0      100      100
                  AZERBAIJAN                                                         0        3        3
                  BELARUS                                                            0       29       29
                  BELIZE                                                             0       12       12
                  BOLIVIA                                                            0        1        1
                  BRAZIL                                                             0        3        3
                  CAMEROON                                                           0        1        1
                  CANADA                                                             3        6        9
                  CHILE                                                              1        4        5
      OFO         CHINA, PEOPLES REPUBLIC OF                                         1       20       21
                  COLOMBIA                                                           5       31       36
                  COSTA RICA                                                         1        3        4
                  CUBA                                                              12      128      140
                  DOMINICAN REPUBLIC                                                 3        3        6
                  ECUADOR                                                            3        3        6
                  EGYPT                                                              0        1        1
                  EL SALVADOR                                                       13      111      124
                  FRANCE                                                             1        1        2
                  FRENCH GUIANA                                                      1        0        1
                  GEORGIA                                                            0        2        2



                                                    1
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               GERMANY                                          3       2       5
               GHANA                                            0       2       2
               GUATEMALA                                       25      67      92
               HAITI                                            7   1,601   1,608
               HONDURAS                                        11     344     355
               INDIA                                            1       4       5
               ITALY                                            1       1       2
               JAMAICA                                          0      19      19
               JAPAN                                            0       3       3
               KAZAKHSTAN                                       0       1       1
               KENYA                                            0       1       1
               KUWAIT                                           0       1       1
               KYRGYZSTAN                                       0      19      19
               MEXICO                                       1,640   2,409   4,049
               MOLDOVA                                          0       3       3
               NETHERLANDS                                      1       0       1
               NICARAGUA                                       13      18      31
               PANAMA                                           0       2       2
               PARAGUAY                                         0       1       1
               PERU                                             3      10      13
               PHILIPPINES                                      0       1       1
               POLAND                                           0       1       1
               REPUBLIC OF SOUTH AFRICA                         1       0       1
               ROMANIA                                          0       4       4
               RUSSIA                                           1     452     453
               SOUTH KOREA                                      0       1       1
               SPAIN                                            1       6       7
               TAIWAN - REPUBLIC OF CHINA                       0       2       2
               TAJIKISTAN                                       0       4       4
               TURKEY                                           1       3       4
               UGANDA                                           0       1       1
               UKRAINE                                          3      15      18
               UNITED KINGDOM                                   0       1       1
               UNKNOWN                                          1       7       8
               UZBEKISTAN                                       0      10      10
               VENEZUELA                                       25       9      34
               VIETNAM                                          0       1       1
   OFO Total                                                1,782   5,491   7,273
               AFGHANISTAN                                      0      57      57
      USBP
               ALBANIA                                          0       9       9


                                        2
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               ANGOLA                                           0       10       10
               ANTIGUA AND BARBUDA                              0        1        1
               ARGENTINA                                        0       10       10
               ARMENIA                                          0        7        7
               AZERBAIJAN                                       0       31       31
               BANGLADESH                                       0      124      124
               BELARUS                                          0       27       27
               BELIZE                                           1       27       28
               BENIN                                            0        1        1
               BOLIVIA                                          1       61       62
               BRAZIL                                          31    1,393    1,424
               BURKINA FASO (UPPER VOLTA)                       0       31       31
               CAMEROON                                         0      119      119
               CHILE                                            1        3        4
               CHINA, PEOPLES REPUBLIC OF                       0      183      183
               COLOMBIA                                        40    6,234    6,274
               COSTA RICA                                       0       30       30
               CUBA                                           280   12,089   12,369
               DEMOCRATIC REPUBLIC OF CONGO (ZAIRE)             0        6        6
               DOMINICA                                         0        1        1
               DOMINICAN REPUBLIC                               2      453      455
               ECUADOR                                        253    1,071    1,324
               EGYPT                                            0        7        7
               EL SALVADOR                                  3,981      508    4,489
               ERITREA                                          0       45       45
               ETHIOPIA                                         0       23       23
               FRANCE                                           0        1        1
               GAMBIA                                           0        7        7
               GEORGIA                                          0      661      661
               GHANA                                            0      182      182
               GUADELOUPE                                      10        0       10
               GUATEMALA                                   11,646      587   12,233
               GUINEA                                           0       47       47
               GUINEA-BISSAU                                    0        4        4
               HAITI                                            7       72       79
               HONDURAS                                     8,329      898    9,227
               INDIA                                            1    1,753    1,754
               IRAN                                             0       15       15
               ISRAEL                                           0        2        2
               ITALY                                            0        1        1


                                        3
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               IVORY COAST                                      0       4        4
               JAMAICA                                          1     242      243
               JORDAN                                           0       3        3
               KAZAKHSTAN                                       0       9        9
               KENYA                                            0       1        1
               KOSOVO                                           0       9        9
               KYRGYZSTAN                                       0      30       30
               LAOS                                             0       1        1
               LEBANON                                          0       4        4
               LIBERIA                                          0       2        2
               MALI                                             0      13       13
               MAURITANIA                                       0      33       33
               MEXICO                                      51,529   4,994   56,523
               MICRONESIA, FEDERATED STATES OF                  1       0        1
               MOLDOVA                                          0       2        2
               MOROCCO                                          0       1        1
               NEPAL                                            0     153      153
               NICARAGUA                                      218   9,027    9,245
               NIGER                                            0       2        2
               NIGERIA                                          0      30       30
               PAKISTAN                                         0      34       34
               PANAMA                                           0      18       18
               PARAGUAY                                         0       1        1
               PERU                                             6   2,897    2,903
               PHILIPPINES                                      0       2        2
               POLAND                                           0       1        1
               REPUBLIC OF CONGO (BRAZZAVILLE)                  1      12       13
               REPUBLIC OF SOUTH AFRICA                         0       1        1
               ROMANIA                                          0     119      119
               RUSSIA                                           0     316      316
               RWANDA                                           0       2        2
               SENEGAL                                          0     183      183
               SERBIA                                           0       5        5
               SIERRA LEONE                                     0      10       10
               SOMALIA                                          0     150      150
               SPAIN                                            0       1        1
               SRI LANKA                                        0      25       25
               SUDAN                                            0       1        1
               SYRIA                                            0       6        6
               TAJIKISTAN                                       0       5        5


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                   TOGO                                                           0         7       7
                   TUNISIA                                                        0         1       1
                   TURKEY                                                         1     1,734   1,735
                   UGANDA                                                         0         4       4
                   UKRAINE                                                        0        16      16
                   URUGUAY                                                        0         3       3
                   UZBEKISTAN                                                     0       152     152
                   VENEZUELA                                                      7     9,510   9,517
                   VIETNAM                                                        0         8       8
                   YEMEN                                                          0         1       1
      USBP Total                                                             76,347    56,576 132,923
      CBP Total                                                              78,129    62,067 140,196



          2. The number of recidivist border crossers for whom DHS has applied expedited
             removal.

           From June 1 - 30, 2022, U.S. Border Patrol (“USBP”) applied expedited removal, 8 U.S.C. §

  1225(b)(1), to 1,427 single adults who attempted to unlawfully enter the United States between a port

  of entry and who had previously been encountered by USBP and processed under Title 42 or Title 8

  at least one time since March 20, 2020.

          3. The number of migrants that have been excepted from Title 42 under the NGO-
             supported humanitarian exception process.

          From the month of June 2022, CBP’s Office of Field Operations processed 8,792 Title 42

  exceptions at the 6 ports of entry that utilize the above-referenced NGO-supported humanitarian

  exception process. The below shows the data broken down by port.1

                      Hidalgo, TX: 3,781
                      Laredo, TX: 773
                      Eagle Pass, TX: 595
                      Paso del Norte, El Paso, TX: 1,137

  1
    Given a significant increase in the number of individuals who have presented themselves with
  situations that warrant humanitarian exceptions pursuant to the terms of the CDC’s Title 42 public
  health orders, DHS has, beginning July 13, 2022, begun to gradually increase the number of
  humanitarian exceptions it applies, subject to operational constraints.


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                   Nogales, AZ: 357
                   San Ysidro, CA: 2,149

         4. Any material changes to policy regarding DHS’s application of the Title 42
            process.

         DHS reports that it has made no material changes to its policy on application of the Title 42

  process.


  Date: July 15, 2022                                  Respectfully submitted,

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